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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

VALENTINA SERRA,

      Plaintiff,
                                               Case No. 13-11814
v.
                                               Hon. John Corbett O’Meara
MARY JANE ELLIOTT, P.C.,

     Defendant.
_____________________________/


                 OPINION AND ORDER GRANTING
          DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

      Before the court are the parties’ cross-motions for summary judgment.

Pursuant to L.R. 7.1(f)(2), the court did not hear oral argument.

                             BACKGROUND FACTS

      Plaintiff Valentina Serra alleges that Defendant Mary Jane Elliott, P.C.,

violated the Fair Debt Collection Practices Act and the Michigan Collection

Practices Act. Plaintiff contends that Defendant repeatedly phoned her in an

attempt to collect debts that did not belong to her. Specifically, Plaintiff alleges

that Defendant called her on the following dates: January 19, 2012; December 11,

2012; December 27, 2012; January 4, 2013; February 19, 2013; March 26, 2013;

and March 27, 2013.
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         Although Defendant does not have a record of a call made on January 19,

2012, Plaintiff claims that Defendant called and attempted to verify her identity.

Defendant provided Plaintiff with the last four digits of the debtor’s social security

number and Plaintiff stated that they did not match her social security number.

Defendant apologized and said that it would take her off its list.

         The next conversation between the parties was on December 11, 2012.

Plaintiff again told Defendant that the debtor’s social security number did not

match hers. Defendant noted this information in its file, but apparently used an

incorrect code, mistakenly coding the social security number as “verified.”

According to Plaintiff, Defendant apologized and stated that it would not call

again.

         Defendant called Plaintiff again on December 27, 2012. This time the call

was recorded by Defendant. Plaintiff again told Defendant that the debtor’s social

security number did not match hers. Defendant’s representative told Plaintiff

“Actually, it was noted that it was a match.” Then Defendant asked Plaintiff for

the last four digits of her social security number, which Plaintiff refused to provide.

Plaintiff stated that previous callers had given her the last four digits of the

debtor’s social security number, and that it did not match hers. Defendant’s

representative stated:


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             MJE: I have it noted here that the social verify was a
             match so I mean I can only go with on what’s left on the
             note. So if you’d like to send a letter that is fine. I’ll
             give you the address but I can’t remove you noted as, if
             it’s, if it’s simply oh, same name, different social, I’d
             need to verify that. If you don’t want to verify that it’s
             fine. Free will. But collection efforts will continue under
             your name.
             VS: Ok well that’s fine.
             MJE: Ok or if you have a good day.
             VS: Thank you, you too.

Def.’s Ex. G. Plaintiff contends that Defendant attempted to call her four more

times, although it appears that Plaintiff did not answer. Plaintiff then filed this

action on April 23, 2013.

                              LAW AND ANALYSIS

I.    Summary Judgment Standard

      Summary judgment is appropriate if “there is no genuine issue as to any

material fact and . . . the moving party is entitled to a judgment as a matter of law.”

Fed. R. Civ. P. 56(c). When reviewing a motion for summary judgment, the facts

and any reasonable inferences drawn from the facts must be viewed in the light

most favorable to the nonmoving party. Matsushita Elec. Indus. Co., Ltd. v. Zenith

Radio Corp., 475 U.S. 574, 587 (1986). The party opposing summary judgment,

however, must present more than a “mere scintilla” of evidence; the evidence must

be such that a reasonable jury could find in favor of the plaintiff. Anderson v.


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Liberty Lobby, Inc., 477 U.S. 242, 252 (1986).

II.   Fair Debt Collection Practices Act

      Plaintiff alleges that Defendant violated 15 U.S.C. § 1692d(5) and 15 U.S.C.

§ 1692e(2)(A).1 Section 1692d provides:

               A debt collector may not engage in any conduct the
               natural consequence of which is to harass, oppress, or
               abuse any person in connection with the collection of a
               debt. Without limiting the general application of the
               foregoing, the following conduct is a violation of this
               section:

                      ***
               (5) Causing a telephone to ring or engaging any person in
               telephone conversation repeatedly or continuously with
               intent to annoy, abuse, or harass any person at the called
               number.

15 U.S. C. § 1692d. “Intent to annoy, abuse, or harass may be inferred from the

frequency of phone calls, the substance of the phone calls, or the place to which

phone calls are made.” Kerwin v. Remittance Assistance Corp., 559 F. Supp. 2d

117, 1124 (D. Nev. 2008). See also Pugliese v. Professional Recovery Serv., Inc.,

2010 WL 2632562 at *9 (E.D. Mich. June 29, 2010) (“To determine whether

Defendant’s calls amount to harassment, annoyance or abuse, the volume of calls

must be examined along with the pattern in which they were made and whether or



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          Plaintiff has abandoned her claim under 15 U.S.C. § 1692f(1).
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not they were accompanied by oppressive conduct.”).

      In light of all of the circumstances, Plaintiff has not met her burden of

showing that Defendant violated 15 U.S. C. § 1692d(5). See Kerwin, 559 F. Supp.

2d at 1124 (noting that the plaintiff carries the burden of showing a § 1692d(5)

violation); Pugliese, 2010 WL 2632562 at *9 (same). Plaintiff alleges that

Defendant called her a total of seven times, six of which occurred during a four-

month period. In itself, this volume of calls does not suggest an intent to harass

Plaintiff. See Newton v. Portfolio Recovery Assoc., 2014 WL 340414 (S.D. Ohio

Jan. 30, 2014) (finding eighteen calls over a four-month period insufficient to

demonstrate an intent to harass where there was “no evidence that the calls were

made at an inconvenient time or place, that they were made after Plaintiff

repeatedly requested that they stop, or that they were made after Plaintiff informed

Defendant that he was represented by counsel or a debt management company”);

Pugliese, 2010 WL 2632562 at *9 (finding 350 calls over an eight-month period

not to be a violation of § 1692d(5)); Udell v. Kansas Counselors, Inc., 313 F.

Supp.2d 1135, 1143-44 (D. Kan. 2004) (finding that placing four phone calls in

seven days without leaving a message “does not fall within the realm of the other

types of egregious conduct specifically prohibited by § 1692d”). Cf. Meadows v.

Franklin Collection Serv., 414 Fed. Appx. 230 (11th Cir. 2011) (finding issue of


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fact as to whether 350 calls over two and a half years after the plaintiff told

defendant she was not the debtor was a violation of § 1692d(5)). In addition, there

is no evidence that Defendant was rude or abusive in its contacts with Plaintiff, nor

is there other circumstantial evidence suggesting an intent to harass. Accordingly,

the court will dismiss Plaintiff’s claim pursuant to § 1692d(5).

      Plaintiff also presents a claim under 15 U.S.C. § 1692e(2)(A), which

prohibits false or misleading statements by a debt collector regarding the character

of a debt. Defendant objects to this claim, because Plaintiff did not plead that

Defendant made false statements in her complaint and did not disclose this claim

during discovery. See Def.’s Resp. at 7-8, and Ex. A to Resp. at 2. Indeed,

Plaintiff has raised this claim for the first time in her motion for summary

judgment. Plaintiff’s complaint does not mention any allegedly false statements

that would give Defendant fair notice that she intended to pursue this claim. In her

interrogatory responses, she specifically relied upon 15 U.S.C. § 1692d(5) and

(f)(1), and did not cite § 1692e. The proper procedure for Plaintiff to raise this

claim was to request leave to amend her complaint, not to raise the claim for the

first time in a motion for summary judgment or a summary judgment response

brief. See Tucker v. Union of Needletrades, 407 F.3d 784, 788 (6th Cir. 2005);

Midland Funding LLC v. Brent, 644 F. Supp.2d 961, 974-75 (N.D. Ohio 2009);


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see also Carter v. Ford Motor Co., 561 F.3d 562 (6th Cir. 2009) (finding plaintiff’s

claim limited to theories relied upon during discovery). Accordingly, the court will

not consider Plaintiff’s claim pursuant to § 1692e(2)(A).

III.   Michigan Collection Practices Act

       Because the court has dismissed Plaintiff’s federal claims, which served as

the basis for the court’s jurisdiction, it will decline to exercise supplemental

jurisdiction over Plaintiff’s Michigan Collection Practices Act claim. See Williams

v. City of River Rouge, 909 F.2d 151, 157 (6th Cir. 1990) (“Where an action in

federal court includes both federal and pendent state claims and the court dismisses

the federal claims before trial on a motion for summary judgment, the pendent state

claims are ordinarily dismissed as well.”). Plaintiff’s MCPA claim will be

dismissed without prejudice.

                                       ORDER

       IT IS HEREBY ORDERED that Defendant’s motion for summary judgment

is GRANTED, consistent with this opinion and order.

       IT IS FURTHER ORDERED that Plaintiff’s motion for summary judgment

is DENIED.

                                        s/John Corbett O’Meara
                                        United States District Judge
Date: April 22, 2014


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      I hereby certify that a copy of the foregoing document was served upon
counsel of record on this date, April 22, 2014, using the ECF system.


                                     s/William Barkholz
                                     Case Manager




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